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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                  STANDING ORDER REGARDING MOTION PRACTICE

A. KELLEY, D.J.
       The Court has adopted the following motion practices governing all civil cases in this
session unless, upon motion for good cause shown or sua sponte, the Court orders otherwise.
    A. Compliance with Local Rules: Counsel shall review and adhere to all relevant Local
       Rules, 1 paying particular attention to the following:
            1. Obligation to Confer: Counsel are reminded of their obligation to confer in good
               faith to resolve or narrow any issues prior to filing any motion, as set forth in
               Local Rules 7.1(a)(2) and 37.1.
            2. Page Limits: Counsel are reminded of the 20-page limit set forth in Local Rule
               7.1(b)(4). Any papers exceeding this limit may be filed only with leave of the
               Court.
            3. Form and Filing of Papers: Counsel are reminded of the requirements set forth
               in Local Rule 5.1, requiring, inter alia, double spacing, as well as Local Rule 7.1,
               concerning general motion practice, Local Rule 37.1, regarding discovery
               motions, and Local Rule 56.1, governing motions for summary judgment.
    B. Deadlines and Procedures for Dispositive Motions: The following deadlines and
       procedures shall apply to all dispositive motions and related briefs and submissions. For
       the purposes of this Order, the term “dispositive motions” includes motions to dismiss,
       motions for summary judgment, motions for judgment on the pleadings, and motions for
       judgment as a matter of law.
            1. Motion: The moving party shall comply with the time frames designated in the
               applicable Federal Rules of Civil Procedure, relevant Local Rules, and any
               schedule set by this Court.
            2. Opposition: An opposition is due within fourteen (14) days of service of the
               motion, except as to motions for summary judgment, where oppositions may be
               filed within twenty-one (21) days. See Local Rules 7.1, 56.1.
            3. Reply: The moving party may file a reply as of right within seven (7) days of the
               filing of the opposition, except as to motions for summary judgment, where a
               reply may be filed within fourteen (14) days after the opposition is served. A
               reply shall not exceed ten (10) pages.


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 The Local Rules of the United States District Court for the District of Massachusetts are available on the
Court’s website at https://www.mad.uscourts.gov/general/rules-home.htm. Local Forms are available at
https://www.mad.uscourts.gov/resources/forms-local.htm?category=.
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       4. Sur-Reply: A sur-reply is not permitted.
       5. Cross-Motions for Summary Judgment: Cross-motions for summary judgment
          are governed by the procedures set forth in Section D(2), infra.
C. Discovery Motions: For the purposes of this Order, the term “discovery motions”
   includes motions to compel discovery, motions for protective orders, motions to quash,
   and motions to strike discovery responses.
       1. Deadlines: Except for good cause shown, discovery motions must be filed no
          later than the close of fact discovery or the close of expert discovery, whichever
          deadline is relevant.
              a. The parties may privately agree to continue discovery beyond the court-
                 ordered deadline, but the Court will not entertain any motions related to
                 disputes arising from discovery conducted beyond the Court-ordered
                 deadline.
              b. If additional discovery is compelled by the Court after the relevant
                 deadline has passed, the discovery deadline shall be extended solely for
                 the requested discovery.
       2. Form of Papers: Counsel shall be mindful of the requirements set forth in Local
          Rule 37.1(b). The moving party’s memorandum in support of any discovery
          motion shall include each interrogatory, deposition question, request for
          production, request for admission, or other discovery matter to be decided by the
          Court, and the response thereto. The moving party must state its position as to
          each contested issue, with supporting legal authority, immediately following each
          contested item.
D. Motions for Summary Judgment: Counsel shall review and adhere to Local Rule 56.1,
   in addition to the procedures set forth below.
       1. Statement of Material Facts: The moving party shall state its facts in a
          numbered list. When filing its response to the moving party’s statement of
          material facts, the opposing party shall list the moving party’s facts in the same
          numerical order as presented in the moving papers and shall state its response
          immediately beneath each numbered fact. The opposing party shall then, in the
          same document, list any additional material facts in support of its opposition,
          beginning with the number following the last number appearing in the moving
          party’s statement of material facts. The same process shall apply for the moving
          party’s reply. Such formatting may look like the following:




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            Opposing Party’s Response to Moving Party’s Statement of Material
            Facts
            1. [Moving Party’s Fact and Citation to Record Evidence, Verbatim].
            RESPONSE: [Not disputed/Disputed]. [If disputed, cite to record evidence
            showing the dispute].
            ….
            39. [Moving Party’s Fact and Citation to Record Evidence, Verbatim].
            RESPONSE: [Not disputed/Disputed]. [If disputed, cite to record evidence
            showing the dispute].


            Opposing Party’s Statement of Additional Material Facts
            40. [Fact in Support of Opposition]. [Citation to Record Evidence].

       2. Cross-Motions: If both sides are filing motions for summary judgment, they shall
          do so as set forth below.
              a. Defendant shall file its motion, with a memorandum not to exceed twenty
                 (20) pages, on or before the date set forth in the Scheduling Order
                 governing the case.
              b. Within thirty (30) days of Defendant’s submission pursuant to Section
                 D(2)(a), Plaintiff shall file a single memorandum as both its memorandum
                 in opposition to Defendant’s motion and its memorandum in support of its
                 cross-motion, not to exceed thirty (30) pages;
              c. Within twenty-one (21) days of Plaintiff’s submission pursuant to Section
                 D(2)(b), Defendant shall file a single memorandum as both its reply in
                 support of its motion and its opposition to Plaintiff’s cross-motion, not to
                 exceed fifteen (15) pages; and
              d. Within fourteen (14) days of Defendant’s submission pursuant to Section
                 D(2)(c), Plaintiff may file a memorandum as its reply in support of its
                 cross-motion, not to exceed five (5) pages.
E. ECF Citations: When citing to documents filed on the Court’s electronic docket, e.g.,
   the complaint, another party’s memorandum, or an exhibit to a prior submission, parties
   shall use the following citation format to ensure that such citations are recognized by
   ECF’s Citation Links feature: (Doc No. ___). This convention shall be used instead of
   formats that use the title of the cited document, e.g., the Bluebook format.



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   F. Exhibits: Each party shall file its exhibits in the order in which they first appear in the
      party’s motion and memorandum in support thereof. Exhibits shall be labeled by
      number, e.g. Exhibit 1, rather than by letter or any other reference.
   G. Privacy Policy: The judiciary’s privacy policy restricts the publication of certain
      personal data in documents filed with the Court, including using only the last four digits
      of social security and financial account numbers, using initials for the names of minor
      children, limiting dates of birth to the year, and limiting home addresses to city and state.
      See Fed. R. Civ. P. 5.2; Local Rule 83.6.11. Such information, if shared during Court
      proceedings, becomes available to the public when the official transcript is filed. The
      best practice is to avoid introducing this information into the record in the first place.
      The parties shall take this into account when filing documents and making statements in
      Court. If a restricted item is mentioned in Court, the parties have waived any right to
      have it stricken or redacted thereafter.
   H. Requests for Hearings: Any party making or opposing a motion may include a request
      for oral argument in a separate paragraph of that motion or opposition. See Local Rule
      7.1(d). The Court will determine whether a hearing is necessary and set a hearing date on
      the docket as needed. Otherwise, the Court will decide the motion on the papers.
   I. Courtesy Copies: Counsel shall provide one courtesy copy to the Clerk’s Office of any
      electronically filed motion, opposition, or reply, including any supporting
      documents/exhibits, that exceeds forty (40) pages in length.
          1. Courtesy copies shall be double-sided.
          2. Courtesy copies must be stamped or otherwise prominently marked as follows:
             “COURTESY COPY – DO NOT SCAN.”
          3. Courtesy Copies shall be delivered to the Clerk’s Office within 5 business days of
             the electronic filing.
          4. Counsel shall include exhibit tabs.
          5. Litigants proceeding in forma pauperis are exempt from this requirement.
   J. Courtroom Opportunities for Relatively Inexperienced Attorneys: The Court
      strongly encourages the participation of junior associates and other less experienced
      lawyers in all proceedings (including, in particular, the attorney who wrote the substantial
      majority of the papers giving rise to the relevant proceeding). The Court will make extra
      effort to accommodate requests for oral argument by less experienced attorneys,
      particularly those historically underrepresented in the legal profession.
       SO ORDERED.

Dated: February 8, 2023                                              /s/ Angel Kelley
                                                                     Hon. Angel Kelley
                                                                     United States District Judge



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